Case 1:17-cv-00445-JDB Document 78 Filed 09/09/19 Page 1 of 4

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

MONIQUE WILLIAMS,
Plaintiff,

Vv. Civil Action No. 17-445 (JDB)

UNITED STATES OF AMERICA, et al.,

Defendants.

ORDER

On August 8, 2019, this Court issued an order compelling the attendance of non-party
witness Artenae Britt at a deposition noticed for August 26, 2019. Aug. 8, 2019, Order [ECF No.
68] at 1-2. The Clerk of Court mailed a copy of this order to her home address, id. at 2, and
defendants attempted to effect personal service of a revised subpoena duces tecum several times
in the days that followed, Joint Mot. of Defs. for Contempt Sanctions Regarding Non-Party
Witness Deponent Artenae Britt (“Defs.’ Mot.”) [ECF No. 74] at 2-3. Britt failed to appear for
the deposition and did not call-or otherwise contact defense counsel to reschedule or explain her
absence. Id. Defendants now request that Britt be held in civil contempt and that the Court impose
sanctions for her failure to comply with this Court’s August 8, 2019 order. Id. at 4. Plaintiff
opposes the motion. See PI.’s Resp. to Defs.’ Mot. [ECF No. 76].

Citizens have an obligation to comply with lawful orders of this Court, and this Court, in
turn, has “inherent power to enforce compliance with [its] lawful orders through civil contempt.”

Shillitani v. United States, 384 U.S. 364, 370 (1966). In addition, the Federal Rules of Civil

Procedure specifically provide that a court “may hold in contempt a person who, having been
served, fails without adequate excuse to obey [a] subpoena or an order related to it.” Fed. R. Civ.

P. 45(g). Civil contempt sanctions “must be calibrated to coerce compliance or compensate a
Case 1:17-cv-00445-JDB Document 78 Filed 09/09/19 Page 2 of 4

complainant for losses sustained,” and may not be “punitive” in nature. In re Fannie Mae Sec.

Litig., 552 F.3d 814, 823 (D.C. Cir. 2009). The movant seeking a civil contempt order must show
by clear and convincing evidence that “(1) there was a clear and unambiguous court order in place;
(2) that order required certain conduct by [a party]; and (3) [the party] failed to comply with that

order.” United States v. Latney’s Funeral Home, Inc., 41 F. Supp. 3d 24, 29-30 (D.D.C. 2014).

Here, the Court’s August 8, 2019, order clearly and unambiguously ordered Britt to appear
for her deposition, even going as far as noting the place and time at which the deposition would
occur. This order was mailed to her home by the Clerk of Court, and the defendants’ process
server attempted personal service of the order to Britt at her home on August 25, 2019. Aff. of
Process Server [ECF No. 74-2]. The process server left a copy of the order on her door. Id. The
Court concludes that defendants have shown by clear and convincing evidence that there was an
order in place that required Britt to attend her deposition. The Court also finds that defendants
have shown by clear and convincing evidence that Britt did not, in fact, attend that deposition.
Hence, the Court holds Artenae Britt in civil contempt for failure to appear for her deposition,
thereby failing to comply with an order of this Court.

As for sanctions, the Court notes that Britt appears to have repeatedly avoided service of
process, and although she was ultimately personally served twice, she has not communicated with
defense counsel or otherwise complied with subpoenas issued by this Court. This conduct has
unfairly imposed costs on defendants by forcing them to repeatedly attempt service and to litigate
this issue in Court. Similarly, Britt’s failure to cooperate with her legal obligations has imposed
costs on plaintiff, whose counsel must attend depositions and respond to defendants’ discovery
requests. In order to coerce Britt’s compliance—and in recognition of, although not full

compensation for, the costs Britt’s actions have imposed on the litigants in this case—the Court
Case 1:17-cv-00445-JDB Document 78 Filed 09/09/19 Page 3 of 4

will impose a monetary fine in the amount of one-hundred dollars ($100), payable immediately to
the Clerk of Court of the United States District Court for the District of Columbia.

Britt is further warned that she may incur additional sanctions, including additional

monetary fines, for failure to appear again at a rescheduled deposition if lawfully noticed and

served by defendants. Any such deposition shall take place on or before October 3, 2019.

Accordingly, it is hereby

ORDERED that [74] defendants’ joint motion for contempt sanctions as to nonparty
witness Artenae Britt is GRANTED, it is further

ORDERED that Artenae Britt is held in CIVIL CONTEMPT; it is further

ORDERED that Artenae Britt is SANCTIONED in the form of a monetary fine of one-
hundred dollars ($100) for her failure to comply with this Court’s August 8, 2019, order
compelling her attendance at her deposition; it is further

ORDERED that this sum is payable immediately to the Clerk of Court of the U.S. District
Court for the District of Columbia, 333 Constitution Avenue N.W., Washington, D.C. 20001; it is
further

ORDERED that the Clerk of Court shall send a copy of this Order by first-class mail to
Artenae Britt, 3913 Burns Court, S.E., Washington, D.C. 20019; it is further

ORDERED that this Order shall be personally served on Artenae Britt by defendants by
not later than September 13, 2019; and it is further

ORDERED that Artenae Britt shall appear for a deposition, if properly noticed and served
with a subpoena duces tecum, at the date and time set in that subpoena, but not later than October
3, 2019. Failure to appear will lead to additional sanctions, including additional monetary fines.

SO ORDERED.
Case 1:17-cv-00445-JDB Document 78 Filed 09/09/19 Page 4 of 4

pA OA —

JOHN D. BATES
United States District Judge
Dated: September 9, 2019

